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       EXHIBIT 16
SecureRelease™ Portal                                                         https://www.securerelease.us/request-details/8c3c43ac-69ef-45ae-8aca-...
                         Case 1:23-cv-01198-CJN Document 7-17 Filed 05/05/23 Page 2 of 3


                    SecureRelease™ Portal
                                                                                                    Mike Howell
                                                                                                    oversightproject@heritage.org

                  Home                                              Request Number:     CBP-FO-2023-053731
                                      DETAILS                   CONTACT INFORMATION        DOCUMENTS

                  Create Request
                      Messages                                                                                       ADD MESSAGE

                  My Requests
                                     RE: Expedited Processing                                  04/20/2023, 12:54:12 pm

                  Public Reading Room                                                      Expedited Processing Requests




                        http://thf_media.s3.amazonaws.com/2023/Oversite_Project/PrinceHarry_Appendix_B-C.pdf




                        -----------------------------------------
                        Topic : Expedited Processing Requests
                        Subject : RE: Expedited Processing
                        Message :Good Morning Mr. Howell,

                        I am Mary Beth McLoughlin, a staff attorney for Shari Suzuki of the CBP FOIA Appeals and
                        Policy Branch. Would it be possible for you to send Appendix B and C again (the various articles
                        you provided). Unfortunately, we experienced a technical di�culty and now we cannot gain
                        access to them. I apologize for the inconvenience this causes.

                        Sincerely,

                        Mary Beth McLoughlin
                        -----------------------------------------
                        From: oversightproject@heritage.org
                        Topic: Expedited Processing Requests
                        Subject: Expedited Processing
                        Message: I write to supplement the record in support of my request for expedited processing for
                        my FOIA Request/Appeal CBP-FO-2023-053731 (“Request”).




                                     RE: Expedited Processing                                    04/13/2023, 8:16:13 am
                                     Good Morning Mr. Howell, I am Mary Beth McLoughlin,Expedited
                                                                                         a staff attorney for Requests
                                                                                                  Processing
                                     Shari Suzuki of the CBP F...




1 of 2                                                                                                                              4/21/2023, 2:38 PM
SecureRelease™ Portal                                                   https://www.securerelease.us/request-details/8c3c43ac-69ef-45ae-8aca-...
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                                   1
                                       expedited processsing                              04/05/2023, 10:12:59 pm
                                I write to supplement the record in support of my request for expedited
                                                                                      Expedited Processing Requests
                                processing for my FOIA Reque...
                  Home
                                   1
                                       Expedited Processing                               04/05/2023, 10:02:34 pm
                  Create Request   SUPPORT      LICENSES      PRIVACY NOTICE     COOKIE NOTICE
                                I write to supplement the record in support of my request for expedited
                                                                                      Expedited Processing Requests
                                processing for my FOIA Reque...
                  My Requests
                                         COOKIE SETTINGS     GOVERNMENT SYSTEM NOTICE


                  Public Reading Room
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2 of 2                                                                                                                      4/21/2023, 2:38 PM
